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 3
   Attorney for Daniel Stonebarger
 4
                                   UNITED STATES DISTRICT COURT
 5
                                       DISTRICT OF COLORADO
 6

 7
     UNITED STATES OF AMERICA,                       ) NO.: 1:21-cr-00392-RM-001
 8                                                   )
             Plaintiff,                              ) REQUEST AND [PROPOSED] ORDER TO
 9                                                   ) APPEAR VIA VIDEO (VTS)
        v.                                           )
10                                                   )
     DANIEL STONEBARGER                              )
11                                                   )
             Defendant.                              )
12                                                   )

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14
                                             PROPOSED ORDER
15
             Based upon the representations of counsel and for good cause shown, the Court grants the
16
     defense request to appear by video on December 2, 2021:
17
             As to
18
             ____ Daniel Perlman, Attorney
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             ____ Daniel Stonebarger, Defendant
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21
     And extending until otherwise directed by the court
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             As to
23
             ____ Daniel Perlman, Attorney
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             ____ Daniel Stonebarger, Defendant
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 3         Therefore, and with the consent of the parties,

 4         IT IS SO ORDERED.

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 7 DATED:___________________                            _____________________________________
                                                        HONORABLE NINA Y. WANG
 8                                                      United States Magistrate Judge
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